                    UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                       Civil Action No. 1:22-CV-00101


     Wei Jiang, M.D                                 )
                                                    )
            Plaintiff,                              )
                                                    )
     v.                                             )
                                                    )   MOTION TO AMEND
     Duke University, Duke University Health
     System, Moira Rynn, M.D, in her                )
     individual and official capacity, and Mary     )
     E. Klotman, in her individual and official     )
     capacity,                                      )
                                                    )
            Defendants.                             )




          NOW COMES Plaintiff, by and through the undersigned counsel, and

moves this Court pursuant to F.R. Civ. P. 15(a) and LR 7.3(j) and 15.1 to amend

her Complaint.           In support of this Motion, Plaintiff shows the Court the

following:

                                       BACKGROUND

1.        Plaintiff’s Complaint was filed February 3, 2022. DE 1

2.        Defendants filed their Motion to Dismiss on March 28, 2022. DE5

3.        Plaintiff responded to the Motion to Dismiss on May 9, 2022. DE9

4.        Defendants filed a reply to Plaintiff’s Response on May 23, 2022. DE11


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5.    On February 22, 2023, the Court entered its Order [DE12] and

Judgment [DE13] dismissing Plaintiff’s Complaint.

6.    In its Order, the Court noted the following deficiency as to Plaintiff’s

Title VII disparate treatment claim:

      For the fourth element of a disparate treatment claim, however,
      the Court finds that Plaintiff has not plausibly pled that she
      suffered any of these adverse actions on account of her race, color,
      sex, or national origin because she has not alleged any facts
      establishing that she was treated differently from other employees
      outside her protected class.

[DE12, p 6]

7.    As to Plaintiff’s § 1981 claim, the Court also stated:

      Accordingly, the Court’s analysis of Plaintiff’s Title VII
      discrimination claim applies with equal force to Plaintiff’s § 1981
      discrimination claim, and the Court will dismiss the § 1981
      discrimination claim for failure to identify any similarly situated
      employees outside the protected classes who received more
      favorable treatment.

[DE12, p9]

8.    Plaintiff’s amended complaint alleges the specific names of other

similarly situated researchers at Duke under the supervision of the individual

defendants who were audited within the department, but not then subjected to

multiple external audits.

9.    Plaintiff’s amended complaint alleges other colleagues who knew of

Plaintiff’s disparate treatment as this was well known to her colleagues and

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other researchers with whom she worked. In the time between the Court’s

order and dismissal These individuals are listed by name and provide evidence

that Plaintiff was treated differently from other individuals who were not her

race or ethnicity, and her sex.

10.   In its Order, the Court noted the same deficiency as to Plaintiff’s hostile

work environment claim. As with her disparate treatment claim, Plaintiff’s

amended complaint provides additional allegations that her colleagues awe

well as the ombudsman noticed that the Defendant was actively and obviously

hostile towards her and treated her differently from other individuals in the

Department who were similarly situated to her but were not her ethnicity,

race, or sex.

11.   As for Plaintiff’s retaliation claim, the Court noted that the Court failed

to plead the existence of the November 12, 2020, letter in her Complaint, the

Court could not consider that letter as evidence of a causal connection allowing

an inference of retaliation: “[b]ecause Plaintiff does not allege the existence of

the November 12, 2020, letter in her Complaint, the Court addresses only

whether Plaintiff has pled a claim for retaliation based on the allegations

relating to the faculty ombudsman and the filed charge. [DE12, pp10-11]

12.   Plaintiff’s proposed amended complaint remedies this omission and

includes the letter and makes additional allegations about a connection

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between Plaintiff’s allegations of discrimination and the adverse actions taken

by Defendants. In addition, Plaintiff makes additional allegations regarding

the adverse actions taken after Plaintiff filed her charge of discrimination as

well and especially regarding the sending of the JAMA letter, as noted by the

Court. [DE12, pp12-13] (“Assuming without deciding that sending the letter

to JAMA was an adverse employment action, the Court nevertheless finds that

that there are no allegations in the Complaint that support the existence of a

causal link between the filing of the charge and the sending of the JAMA letter.

. . . . [and] the Complaint does not allege when in 2021 the letter to JAMA was

sent. Therefore, the Court lacks enough information to assess how much time

passed between Plaintiff’s filing her charge and the JAMA letter.”)

                                     LAW

13.   F.R. Civ. P 15(a) provides for amendments before trial. Subsection (1)

provides for amendments as a “matter of course.” Subsection (2) provides for

“other amendments.” Subsection (2) also provides that “[t]he court should

freely give leave when justice so requires.”

14.   While Rule 15(a) states that “leave shall be freely given when justice so

requires,” leave to amend is not automatic and is within the sound discretion

of the court. Foman v. Davis, 371 U.S. 178, 182, 83 S. Ct. 227, 230, 9 L.Ed.2d

222 (1962). See also Deasy v. Hill, 833 F.2d 38, 40 (4th Cir.1987), cert. denied,

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485 U.S. 977, 108 S. Ct. 1271, 99 L.Ed.2d 483 (1988); Gladhill v. General

Motors Corp., 743 F.2d 1049, 1052 (4th Cir.1984).

15.   This District has held that reasons to deny a motion to amend include

“undue delay, bad faith or dilatory motive on the part of the movant, repeated

failure to cure deficiencies by amendments previously allowed, undue

prejudice to the opposing party by virtue of allowance of the amendment,

futility of amendment, etc.” Shanks v. Forsyth Cty. Park Auth., Inc., 869 F.

Supp. 1231, 1238 (M.D.N.C. 1994) (quoting Foman, 371 U.S. at 182, 83 S. Ct.

at 230). See also Sweetheart Plastics, Inc. v. Detroit Forming, Inc., 743 F.2d

1039, 1043 (4th Cir.1984).

16.   Plaintiff’s counsel have sought to be mindful of their obligations under

the Federal Rules of Civil Procedure, such as: the obligation under Rule 8 to

provide a “a short and plain statement of the claim showing that the pleader

is entitled to relief” and the countervailing obligation under Rule 12(b) to

provide sufficient facts to meet pleading obligations under Twombly/Iqbal.

17.   Plaintiff has not engaged in undue delay, bad faith, and has no dilatory

motive. Moreover, the motion to amend does not follow “repeated failures to

cure deficiencies by amendments previously allowed.” Nor will there be any

undue prejudice to any of the Defendants because the amendments are for the

purpose of clarification and for the specific purpose of addressing Defendants’

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objections to the Complaint and First Amended Complaint which Plaintiff has

diligently attempted to address.

18.   Finally, the amendments are not futile because they seek to cure the very

deficiencies noted by the Court. Notably, Plaintiff does not seek to include her

previous § 1985 claim in the Amended Complaint. The factual allegations

added to the proposed amended Complaint are more than sufficient to

establish a prima facie case of discrimination under Title VII, the ADEA, and

§ 1981, even though Plaintiff is not even obligated to do so at this stage of the

pleading. See Swierkiewicz v. Sorema N.A., 534 U.S. 506, 511, 122 S.Ct. 992,

152 L.Ed.2d 1 (2002); McCleary-Evans v. Md. Dep't of Transp., 780 F.3d 582,

584–85 (4th Cir. 2015). Providing the factual enhancements to Plaintiff’s

allegations that she was treated differently from others who were similarly

situated to her meets the standard set forth in Ashcroft v. Iqubal, 556 U.S. 662,

678 (2009).

                                CONCLUSION

      For the foregoing reasons, Plaintiff respectfully requests that this Court

allow Plaintiff to file a Second Amended Complaint.




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Respectfully submitted, this the 22nd day of March 2023.


/s/ VALERIE L. BATEMAN                /S/ JUNE K. ALLISON
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               CERTIFICATE OF FILING AND SERVICE

      This is to certify that the undersigned has this day electronically filed

or caused to be filed the foregoing PLAINTIFF’S MOTION TO AMEND

PLAINTIFF’S FIRST AMENDED COMPLAINT with the Clerk of Court

using the CM/ECF system which will send notification of the filing of the

document to all counsel of record.

      This the 22nd day of March 2023.


                                                 /s/ VALERIE L. BATEMAN
                                                 Valerie L. Bateman
                                                 NEW SOUTH LAW FIRM




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